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                               U.S. District Court
                                District of Maine


COURT OPERATIONS UNDER                 )
THE EXIGENT CIRCUMSTANCES              )
CREATED BY THE COVID-19                )
CORONA VIRUS & RELATED                 )       GENERAL ORDER 2020-9
PANDEMIC PRECAUTIONS:                  )       (Amended, May 5, 2021)
COURT OPERATIONS                       )
ADVISORY COMMITTEE                     )


  ESTABLISHMENT OF COURT OPERATIONS ADVISORY COMMITTEE

       In light of the public emergency arising out of the COVID-19 pandemic and to
protect public health, the U.S. District Court for the District of Maine hereby
establishes the COURT OPERATIONS ADVISORY COMMITTEE (“COAC”). COAC
shall provide comment and advice on issues related to the District of Maine’s ongoing
response to the COVID-19 pandemic and plans for the resumption of in-court events.
A roster of the members of the Committee is appended hereto.

       Unless terminated earlier or extended, this General Order shall remain in
effect until 11:59 p.m. on December 31, 2021.

      SO ORDERED this 5th day of May, 2021.


                                                   /s/ Jon D. Levy
                                                CHIEF U.S. DISTRICT JUDGE




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             COURT OPERATIONS ADVISORY COMMITTEE

U.S. District Court
           Jon D. Levy, Chief Judge (chair)
           John A. Woodcock, Jr., Senior Judge
           John C. Nivison, Magistrate Judge
           Christa K. Berry, Clerk of Court
           Eric M. Storms, Deputy Clerk of Court
           Julie Rodrigue, Bangor Deputy in Charge

U.S. Marshal Service
           Theodor Short, U.S. Marshal for the District of Maine
           Dean Knightly, Supervisory Deputy U.S. Marshal, Portland Operations
           Josh Taylor, Supervisory Deputy U.S. Marshal, Bangor Operations

General Services Administration

           Dale A. Cullivan, Supervisory Property Manager

U.S. Attorney for the District of Maine
           The U.S. Attorney or Acting U.S. Attorney for the District of Maine
           F. Todd Lowell, Assistant U.S. Attorney
           Joel B. Casey, Assistant U.S. Attorney

U.S. Federal Defender
           David R. Beneman, U.S. Federal Defender
           James S. Nixon, Assistant U.S. Federal Defender

U.S. Probation and Pretrial Services
           Kimberly Rieger, Chief Probation Officer
           Michael Penders, Deputy Chief Probation Officer

Private Practice Representatives:
           Carol J. Garvan, Esq., Augusta
           Katharine I. Rand, Esq., Portland
           Terence M. Harrigan, Esq. Bangor
           Zachary L. Heiden, Esq., Portland
           Timothy E. Zerillo, Esq., Portland




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Note Regarding May 5, 2021, Amendment:

General Order 2020-9 was amended effective May 5, 2021, to extend the expiration
date to December 31, 2021 and to provide that the U.S. Attorney or Acting U.S.
Attorney, by office rather than individually, is a member of the Court Operations
Advisory Committee.




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